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                                           Exhibit C

               In re Purdue Pharma L.P., Case No. 19-23649 (RDD) (Bankr. S.D.N.Y.)
                                 Nov. 19, 2020 Hr’g Tr. Excerpt




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      1      UNITED STATES BANKRUPTCY COURT

      2      SOUTHERN DISTRICT OF NEW YORK

      3      - - - - - - - - - - - - - - - - - - - - - - - - - - - - x

      4      In the Matter of:

      5

      6      PURDUE PHARMA L.P., ET AL.                      Case No. 19-23649-rdd

      7

      8                     Debtors.

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     12                          U.S. Bankruptcy Court

     13                          300 Quarropas Street

     14                          White Plains, New York 10601

     15

     16                          November 19, 2019

     17                          10:31 AM

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     19

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     22      B E F O R E :

     23      HON ROBERT D. DRAIN

     24      U.S. BANKRUPTCY JUDGE

     25      ECRO:       NAROTAM RAI

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      1                  THE COURT:     Okay.    Thank you.

      2            (Laughter)

      3                  MR. HUEBNER:     That's the only time in my life my

      4      argument has been shorter than my opponents.

      5            (Laughter.

      6                  THE COURT:     All right.      All right.

      7                  I have before me a motion by the Debtors for

      8      either approval of their entry into or the approval of the

      9      assumption of any fee reimbursement letter, a copy of which

     10      is attached to the motion whereby they would agree to have

     11      the estate pay the reasonable fees and expenses of certain

     12      designated professionals for the loop of plaintiffs who pre-

     13      bankruptcy had agreed to a settlement framework with the

     14      Debtors.    That has now been embodied in a term sheet.

     15                  The agreement has been modified as reflected in

     16      the proposed order submitted to chambers late last week and

     17      discussed on the record today and provided to the parties.

     18      But the basic concept is the same which is that the work

     19      that the four designated law firms and currently one

     20      designated financial advisor would be doing during the

     21      course of this case, not subject to strong rights of the

     22      Debtors to terminate the agreement, however, would be paid.

     23                  Because the Debtors are in bankruptcy such a

     24      proposal needs to be put forth and subject to notice of a

     25      hearing and the agreement has received a number of

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      1      objections as well as support from the other large group of

      2      states who have not yet agreed to a settlement framework in

      3      this case but are, in certain respects, working with the ad

      4      hoc committee that has reached a settlement framework.

      5                  The first issue for me to consider is whether the

      6      rubric under which the Debtors are seeking approval of the

      7      reimbursement agreement is permissible.

      8                  The United States Trustee has taken the position

      9      that because fees are at issue and obviously these are not

     10      the fees and expenses of professionals to be compensated

     11      under Section 330 and 331 of the Code, and that they're not

     12      retained under Section 327 or 1104 of the Code, that the

     13      only source for the authority to pay such fees and expenses

     14      appears in Section 503(b) of the Bankruptcy Code and

     15      specifically 503(b)(3) or (4) of the Code.

     16                  The Debtors, on the other hand, contend that I

     17      have the separate power to approve their motion as the

     18      assumption of a contract under Section 365 of the Code or

     19      for a proposed use of the estate's assets, in this case

     20      cash, under Section 363(b) of the Bankruptcy Code.

     21                  Other courts have addressed this issue before.

     22      The U.S. Trustee relies heavily, perhaps, you know, almost

     23      exclusively on In Re. Lehman Brothers Holdings, Inc, David

     24      V. Elliott Management Corp. 508 Br. 283 SDNY 2014, in which

     25      the district court reversed the Bankruptcy Court on a

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      1      reserved issue that was reserved at the time of the

      2      confirmation of the Lehman Brothers Chapter 11 plan.

      3                   That issue was whether the plan itself could

      4      provide for the payment of previously incurred fees and

      5      expenses of committee -- creditors' committee members,

      6      including their counsel, under a standard separate and apart

      7      from Section 503(3) of the Bankruptcy Code.         For example,

      8      under Section 1129(a)(4) of the Bankruptcy Code.

      9                   In that case, Judge Sullivan concluded that 503(b)

     10      was the only source for paying such a claim and that

     11      Congress had specifically deleted the types of fees for

     12      committee members from the statute and therefore found that

     13      that provision of the plan could not stand.

     14                   On the other hand, the issue was directly raised

     15      on a case that I believe is much more on point in In Re.

     16      Bethlehem Steel Corp., 2003 WL 217, 38964, SDNY July 23,

     17      2003, in which District Judge Mukasey overruled an objection

     18      by the U.S. Trustee made on essentially the same basis as

     19      the objection before me and affirmed Bankruptcy Judge

     20      Lifland's approval of the Debtors' payment of the ongoing

     21      fees and expenses of the United Steelworkers of America

     22      Captain, and subject to review, as set forth in that

     23      agreement.

     24                   This was an unsecured -- this was a creditor that

     25      held an unsecured claim.      It clearly was not being retained

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      1      under Section 327 or 1104 and was not seeking payment under

      2      503(b).     Nevertheless, in a thoughtful opinion, Judge

      3      Mukasey affirmed Judge Lifland, in concluding that under

      4      Section 363(b) the payment was warranted and not precluded

      5      by Section 503 of the Bankruptcy Code.

      6                   The Court noted that these were for ongoing work.

      7      These fees would be paid for ongoing work as opposed to for

      8      past work and that the motion was made by the debtor as

      9      opposed to by a creditor.

     10                   The Court further said that subsections

     11      503(b)(3)(d) and (b)(4) are not rendered meaningless simply

     12      because a certain unique -- in certain unique circumstances

     13      the bankruptcy court approves a debtor's motion to enter

     14      into an agreement to reimburse a creditor for professional

     15      fees.

     16                   In most cases, a debtor will make no such motion

     17      as it will not be in its business interest to do so or the

     18      Court will refuse approval under Section 363(b).         That's in

     19      most cases if the creditor wants to be reimbursed, it must

     20      file an application under subsections 503(b)(3)(d) and

     21      (b)(4).

     22                   Those provisions continue to serve a purpose, a

     23      separate purpose.

     24                   I agree with that analysis and will note that just

     25      as Judge Mukasey and Judge Lifland noted in Bethlehem Steel,

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      1      there are a number of cases under the Bankruptcy Code are

      2      fact patterns under the Bankruptcy Code where Courts have

      3      approved payments of ongoing fees and expenses not under

      4      Section 503(b) but under Section 363(b) or sometimes under

      5      Section 365.

      6                   The most common is in connection with the debtor's

      7      request for approval or a restructuring support agreement

      8      that has garnered the support of some but not all of the

      9      debtor's creditors.     Often those agreements are with secured

     10      creditors but it's not clear whether they are over secured

     11      and therefore would have a right to attorney's fee.          But

     12      they are also in the past have been with unsecured

     13      creditors.

     14                   As Judge Mukasey noted, Courts have also approved

     15      paying reasonable fees and expenses of -- including legal

     16      fees of proposed bidders for the debtor's assets under

     17      Section 363 notwithstanding the potential applicability of

     18      503.   In fact, the Third Circuit made a distinction in the

     19      Applied Energy case discussed in Bethlehem Steel where there

     20      was no advance approval of such a request.          The debtor

     21      didn't seek approval until thereafter and the disappointed

     22      bidder made its request, it had to make it under Section 503

     23      and it was reviewed under 503.

     24                   But obviously the facts of the case are

     25      distinguishable from countless cases where courts have

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      1      approved at the debtor's request the payment of fees and

      2      expenses as part of (indiscernible) procedures.

      3                  Also courts have approved the fees and expenses of

      4      secured creditors in the case fairly routinely in cash

      5      collateral orders even where there's no showing that the

      6      debtors -- that the collateral serving for the secured

      7      creditor is sufficient to cover not only the debt but also

      8      the fees and therefore the secured creditor would be

      9      entitled to the fees.     And there's no showing of the need to

     10      pay them as part of adequate protection.

     11                  Nevertheless, they're paid because of the role

     12      that the secured creditor is playing in the case.

     13                  So I conclude that the proper standard to review

     14      this motion under is, in fact, the standard applicable which

     15      I believe is applicable to both sections, 363(b) and Section

     16      365 of the Bankruptcy Code.

     17                  I will note that there is case law that --

     18      including in this District declines to approve the

     19      assumption of an agreement under Section 365 that provides

     20      for the payment of the debtor's attorney fees.         See In Re.

     21      Financial News Network, Inc., 134 Br. 732 Br. SDNY 1991,

     22      which was a clear runaround the requirements of Section 330

     23      and 331 of the Bankruptcy Code.

     24                  But, ultimately whether I'm applying 365 or 363(b)

     25      here, I believe it's the same standard for me to apply which

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      1      is whether the entry into the agreement and the performance

      2      of it including the ongoing payment of the professional fees

      3      is a proper exercise of business judgement and in the best

      4      interest of the debtors and their estates and creditors.

      5                   The case law as to the determination of what is a

      6      proper exercise of business judgment is I believe fairly

      7      clear in the Second Circuit and it is clear that

      8      notwithstanding the Integrated Resources case often cited by

      9      debtors in Section 363(b) motions, the Second Circuit has

     10      made it clear since that case that ultimately the bankruptcy

     11      judge has to make the decision as to whether the debtor has

     12      exercised proper business judgment in taking the action out

     13      of the ordinary course and/or assuming a pre-petition

     14      contract under Section 365.       See In Re. Orion Pictures

     15      Corp., 4 F.3d, 1095, 1099, Second Circuit 1993.

     16                   Most of the time most actions out of the ordinary

     17      course are unopposed.     If that's the case, the court

     18      ordinarily will defer to the debtor's judgment in entering

     19      into the agreement.     Although, even then, the court has an

     20      obligation to make sure that that judgment makes sense.          See

     21      In Re. Genco Shipping & Trading Ltd, 509 Br. 455, 463, Br.

     22      SDNY 2014.

     23                   But I believe clearly given the fact that Congress

     24      requires both under 363(b) and 365 of the Bankruptcy Code,

     25      notice of the opportunity for a hearing that where there are

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      1      objections in particular, the Court needs to carefully weigh

      2      all the opposing views as well as the views stated             in

      3      support of the motion to determine, in its judgment, whether

      4      the decision is a good one or note.

      5                   The fact is that often in bankruptcy cases as much

      6      as the code and courts urge parties in interest to work

      7      together to a common goal, there are different points of

      8      view that are almost structurally required and ultimately

      9      that is why I believe Congress made the Court the final

     10      arbiter as to what makes good business sense for something

     11      like this.

     12                   Given my review of the motion and the supporting

     13      papers, as well as the objections to the motion, as well as

     14      oral argument today, it's first clear to me that the facts

     15      are largely undisputed.

     16                   The Debtors' cases are highly unusual.          It may be

     17      there are more like them in the future.             But the Debtors are

     18      largely in a sua generous position whereby they have already

     19      agreed to turn over all of their value to their creditors.

     20                   The question is whether that agreement should be

     21      augmented by a specific set of terms basically agreed with

     22      the ad hoc consenting group or whether additional terms can

     23      be agreed to that pertain to third parties of the Debtors'

     24      shareholders and further and as equally important how the

     25      resulting estate should be distributed to the creditors.

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      1                  The unusual perhaps unique issue in these cases is

      2      that there is a distinct possibility that the allocation

      3      issues could either be dealt with in an efficient and fair

      4      way that's respectful of the various parties-in-interest in

      5      this case or the parties can spend an inordinate amount of

      6      time disputing them to all their detriment.

      7                  One would think if you sit in bankruptcy court

      8      every day, as I do, that that issue also is common to

      9      bankruptcy cases.    And, as I just articulated, it is.        What

     10      is different here, however, is that this is a fundamentally

     11      public health crisis driven case where the claimants, in one

     12      sense, can be almost every citizen in the country.         That is

     13      why every state, except the two states that have already

     14      settled with these Debtors, has taken a highly active role

     15      not only in this case but in the litigation that preceded

     16      this case in federal and state court.

     17                  Thus deciding how the public at large is to

     18      benefit from the agreement that the Debtors have already

     19      made and a potential agreement from their shareholders is

     20      truly unusual.

     21                  It appears clear to me that we would not be in

     22      this place but for the work done by the states in general

     23      and that has been acknowledged by those who have objected to

     24      this motion as well as the Debtors.

     25                  It's also clear to me that the states have a

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      1      unique role in these cases because of their unique position.

      2      First of all, they are the sovereign state governments of

      3      the 48 states involved.

      4                    Secondly,   because of that, they have unique

      5      rights under the Bankruptcy Code.           Those rights can be

      6      tested in a wasteful way or they can be reserved for a

      7      future day if the states are satisfied that the process is

      8      proceeding in a way that is credible and acceptable to them.

      9                    At this point in the case, the latter, to my

     10      relief, appears to be the approach that the states have

     11      taken.      Not only the ad hoc group of so-called settling

     12      states but also the ad hoc group of non-settling states.

     13                    But those types of issues I believe need to be

     14      dealt with sensitively throughout these cases.           I think it's

     15      correct that the Debtors recognize the unique role that the

     16      states have played and will continue to play in these cases.

     17      And, frankly, I believe that such recognition is in the best

     18      interests of all of the Debtors' creditors.

     19                    It is clear to me from today's record that the

     20      states need to perform their own analysis, their own due

     21      diligence, and be heavily involved in the rest of these

     22      cases as they have been so far.

     23                    While it appears to me that we are quite fortunate

     24      in this case to have an active and well represented official

     25      committee of unsecured creditors, the states' interests are,

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      1      as I said before, unique and require unique steps to insure

      2      that they are dealt with in a sensitive and an appropriate

      3      way.

      4                  I believe it is reasonable for them to want to

      5      perform their own due diligence, do their own analysis, and

      6      it is in the interests of the Debtors' estates and creditors

      7      that they do so in an efficient and organized way which

      8      means focusing their work through point counsel and point

      9      decision makers who then develop transparent ways to

     10      communicate to their colleagues.

     11                  The question is is it necessary, or at least a

     12      good business decision, to pay for that work at this time as

     13      the motion proposes.

     14                  That is not an easy question to answer as

     15      evidenced by the well argued objections under Section 363

     16      while applying Section 363(b)'s standard and it's my job to

     17      sift through whether this expenditure of that money just in

     18      terms of sheer dollar amount as well as any affect that that

     19      expenditure would have on these cases is a proper exercise

     20      of business judgment.

     21                  Any dollar that the Debtor can spend to solve the

     22      health crisis that is the reason for its case one would

     23      believe is a dollar well spent.        So taking any dollar away

     24      from that is a difficult decision to make.

     25                  However, it is also the case that because of the

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      1      context of this case and the difficult issues it raises,

      2      dollars will need to be spent to resolve those issues in an

      3      efficient and fair way.     The Debtor just can't put a chest

      4      of money out on the street and say come and get it.

      5                   Instead, the parties-in-interest need to approach

      6      the problems that this case presents in a very thoughtful

      7      and creative way.     That takes times and it takes money.

      8                   The creditors committee and its allies in

      9      connection with the objection to this motion takes the view

     10      that this -- the expenditure of any money here is premature

     11      because we are not yet at the stage where -- let alone there

     12      is a plan but there's not even a restructuring support

     13      agreement.

     14                   It also notes that the cost of this motion could

     15      be high although I take issue necessarily with the view that

     16      it would be 15 to 20 million dollars because that is a cost

     17      spread over several months and the Debtor has the right, at

     18      any time, to opt out of this agreement and the agreement, in

     19      any event, unless extended, ends, if there is no RSA, by, in

     20      essence, a month of so from now.

     21                   So I view the issue about whether this relief is

     22      premature a little differently.        It seems to me that with

     23      the limitations imposed by the changes to the proposed

     24      order, the work that would be compensated here would be

     25      appropriately compensated and be to the benefit of all the

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      1      parties in this case.     As far as the analyses of the Debtors

      2      and their business, which includes difficult analyses about

      3      not only their -- the value of those businesses but also how

      4      to monetizes them including non-debtor entities and also due

      5      diligence and work in connection with analyses of causes of

      6      action that the Debtors have that may well be equal to or

      7      greater than the value of their hard assets and their

      8      businesses.

      9                  I believe that's what is now appropriately

     10      compensated under this revised agreement.

     11                  The committee has argued that that work will be

     12      done anyway if I don't approve this agreement and it is

     13      possible that some portion of it will be.           However, as I

     14      said during oral argument, this motion is as much, if not

     15      more, about bringing structure to this case as it is about

     16      the actual hard dollars spent on paying for the work to be

     17      done.

     18                  I believe without such a structure, i.e., where

     19      there are clear lines of communication and clearly defined

     20      roles for the professionals for the ad hoc group, there

     21      would be a substantial risk that the trust, based on

     22      assessments of the Debtors' credibility, that has been

     23      generated over the last three months or so, would be frayed

     24      and potentially lead to what I believe would be a major step

     25      back in this case which is or which would be various states

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      1      and the PEC group feeling that they were on their own and

      2      taking therefore diverse and unorganized positions.

      3                  Besides the due diligence, the next major step in

      4      this case, which I've already, and I know I sound like a

      5      broken record, but I've said it two or three times now,

      6      needs to be focused is creative thinking about the

      7      allocation of the Debtors' assets.

      8                  I continue to believe that the states play a major

      9      role in that process.     The role I'm envisioning for them is

     10      not one where they say we get everything.           I think that

     11      should be clear and I think it is clear to them.

     12                  But, rather, where they act as -- in the best

     13      principles of federalism, for their state, the coordinator

     14      for the victims in their state.

     15                  Thus, I would expect the people from Mr. Neiger's

     16      group, for example, to be working with the states closely to

     17      maximize benefits because it appears to me from his

     18      description of his group that they're not so much focusing

     19      on individual claims as a way to deal with a whole host of

     20      individuals.

     21                  And there may be very good ways to do that in a

     22      particular state and less good ways in another state and I

     23      hope that the states will act as a way to coordinate that

     24      type review.

     25                  There is a legitimate concern that those hopes

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      1      will not be fulfilled.     I don't think that will be the case.

      2      I think the states appreciate that this money needs to go

      3      where it is most in need of going and that          we don't repeat

      4      the experience of some states from the tobacco settlements,

      5      for example.

      6                  But because of that concern, even though I believe

      7      it is not the likely outcome in this case, I think that

      8      there should be two additional conditions on certain of the

      9      work reimbursement.

     10                  First, I believe work done on this critical issue

     11      of allocation should, like the pre-petition work covered by

     12      the agreement now, be payable upon the earlier of the

     13      Court's approval of an RSA or confirmation of a plan.

     14                  For those of you who are not bankruptcy lawyers

     15      that doesn't mean that I'm disapproving it.          Rather, I would

     16      look at the time that an RSA is proposed and see whether it,

     17      in fact, makes good business sense and that may not mean

     18      that it has to be universally accepted but that it is a

     19      focal point for moving the case to the next step.

     20                  I want to be clear that what I'm conditioning on

     21      the approval of an RSA is not all of the work but just work

     22      on the allocation issue and, knowing the professionals

     23      involved, I know they know how to bill by separate tasks to

     24      cover that.

     25                  Secondly, I believe that that RSA needs to have

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      1      within it, if not -- and I'm not ruling out anything before

      2      then, but it needs to have within it a valid and credible

      3      proposal for the emergency use before confirmation of a

      4      plan, of a substantial amount of the Debtors' cash because I

      5      do think it is important for the parties-in-interest to be

      6      focusing on that use now.

      7                   I appreciate that those two conditions put the ad

      8      hoc group at some risk for some portion of the fees at issue

      9      here.   On the other hand, I believe that that risk to them

     10      is minimal given how they've conducted themselves so far in

     11      this case and my belief that past is prologue, i.e., that

     12      they will continue to be constructive; continue to try to

     13      achieve consensus and, most importantly, consistent with

     14      their roles as representatives of individual states as well

     15      as the plaintiffs who have -- who brought the pre-petition

     16      litigation, that brought us to where we are today, will see

     17      the need to continue to contribute in these cases in a way

     18      that brings the parties together in an efficient and fair

     19      way.

     20                   So, with the changes that had previously been

     21      agreed to, all of which I believe were well considered and

     22      warranted, I will approve the motion with those two

     23      additions.

     24                   MR. HUEBNER:     Your Honor, I would never agree to

     25      leave a hearing with the Court having a potential factual

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